     Case 4:05-cr-00028-HTW-LRA        Document 117       Filed 07/19/13    Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF MISSISSIPPI
                            EASTERN DIVISION

UNITED STATES OF AMERICA                                                   RESPONDENT

V.                                       CRIMINAL ACTION NO. 4:05-CR-28-HTW
                                             CIVIL ACTION NO. 4:10-CV-64-HTW

BILLY RAY SHOWS II                                         PETITIONER/DEFENDANT

                      REPORT AND RECOMMENDATION OF
                      UNITED STATES MAGISTRATE JUDGE

       This case is before the undersigned Magistrate Judge on the Order Referring Case

[110] entered by District Judge Henry T. Wingate on February 5, 2013. Billy Ray Shows

II [hereinafter “Petitioner” or “Shows”] was convicted in this Court of conspiracy to

defraud the United States and tax evasion. He perfected a direct appeal, and his

conviction was affirmed by the Court of Appeals for the Fifth Circuit [99]. Subsequently

he filed a Motion to Vacate under 28 U.S.C. § 2255 [102], and this motion is now before

the Court.

       Shows has alleged various errors, including ineffective assistance of his trial

counsel for failing to raise a speedy trial objection before trial. Although Shows referred

to an “Exhibit A” on page 2 of his supporting memorandum [105, p. 2], the Exhibit was

not attached and has not been filed of record. According to Shows, Exhibit A contained a

list of motions filed and the days excludable under the Speedy Trial Act. By Order filed

March 11, 2013 [114], Shows was directed to file his Exhibit A on or before March 29,
   Case 4:05-cr-00028-HTW-LRA           Document 117        Filed 07/19/13       Page 2 of 4




2013. He was warned that his failure to respond by that date could result in the dismissal

of his Motion to Vacate.

       Shows never provided the Clerk of the Court with an address other than his

former counsel’s address and the Federal Public Defender’s address. When he filed his

Motion to Vacate, he was in prison in Atlanta, Georgia, but he has now been released.

Through his former attorneys, the Clerk of this Court obtained his address, 105 East 1st

Street, Newton, MS 39345. The Court’s last Order was sent to Shows at this address,

but it was returned as undeliverable on March 22, 2013 [116]. Neither this Court or its

Clerk is legally required to undertake independent investigations to maintain current

addresses on parties to pending actions. Such a requirement would not be feasible, and it

is incumbent upon litigants to keep the Clerk of the Court advised of a current address.

       Shows filed this Motion to Vacate, and it was his responsibility to prosecute his

claims and to keep the Court advised of a current address. The Court must be able to

contact Plaintiff, and he must be willing to prosecute his case in accordance with the

rules of the Court.

       Rule 41(b) of the Federal Rules of Civil Procedure provides as follows:

              (b) Involuntary Dismissal; Effect. If the plaintiff fails to
              prosecute or to comply with these rules or a court order, a
              defendant may move to dismiss the action or any claim
              against it. Unless the dismissal order states otherwise, a
              dismissal under this subdivision (b) and any dismissal not
              under this rule ---- except ... ---- operates as an adjudication
              on the merits.

       (Emphasis added.)
   Case 4:05-cr-00028-HTW-LRA           Document 117       Filed 07/19/13     Page 3 of 4




       The authority of a [district] court to dismiss sua sponte for lack of prosecution ...

[is] an inherent power, governed not by rule or statute but by the control necessarily

vested in courts to manage their own affairs so as to achieve the orderly and expeditious

disposition of cases.” Link v. Wabash R.R. Co., 370 U.S. 626, 630-631 (1962);

McCullough v. Lynaugh, 835 F.2d 1126 (5th Cir. 1988).

       Whether or not a plaintiff is pro se, or incarcerated, he still has an obligation to

inform the Court of any address changes. “Every attorney and every litigant proceeding

without legal counsel has a continuing obligation to notify the clerk of court of address

changes.” See Local Rule 11(a); Wade v. Farmers Ins. Group, No. 01-20805, 2002 WL

1868133, at *1, n. 12 (5th Cir. June 26, 2002) (on appeal from district court’s denial of a

motion for reconsideration of dismissal for failure to prosecute— even incarcerated

litigants must inform the court of address changes); Carey v. King, 856 F.2d 1439, 1441

(9th Cir. 1988) (pro se plaintiff’s case dismissed for failure to prosecute when he failed to

keep the court apprised of his current address).

       A dismissal of a plaintiff’s lawsuit for failing to comply with a district court’s

order is warranted where “[a] clear record of delay or contumacious conduct by plaintiff

exists.” Day v. Allstate Ins. Co., 788 F.2d 1110 (5th Cir. 2008) (quoting Anthony v.

Marion County General Hospital, 617 F.2d 1164, 1167 (5th Cir. 1980)). The record in

Shows’s case supports such a finding. Shows obviously lost interest in pursuing this

Motion to Vacate after his release from prison, even though he has not formally moved to

dismiss this case. His conviction was affirmed through the direct appeal by the Fifth
   Case 4:05-cr-00028-HTW-LRA           Document 117       Filed 07/19/13     Page 4 of 4




Circuit, but the sanction of dismissal is necessary in order to officially conclude this

appeal via 28 U.S.C. § 2255.

       For the above reasons, the undersigned Magistrate Judge recommends that

Shows’s Motion to Vacate [102] be denied and that Cause No. 4:10cv64 be dismissed

pursuant to FED. R. CIV. P. 41(b), with prejudice.

       The parties are hereby notified that failure to file written objections to the

proposed findings, conclusions, and recommendations contained within this report and

recommendation within fourteen (14) days after being served with a copy shall bar that

party, except upon grounds of plain error, from attacking on appeal the unobjected-to

proposed factual findings and legal conclusions accepted by the District Court. 28

U.S.C. § 636; Fed. R. Civ. P. 72(b)(as amended, effective December 1, 2009); Douglass

v. United Services Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996).

       Respectfully submitted, this the 19th day of July, 2013.



                                          /s/ Linda R. Anderson
                                    UNITED STATES MAGISTRATE JUDGE
